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     Thomas Daily
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 8                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF CALIFORNIA
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11   THE UNITED STATES                         )     Case No. 09-cr-00413-MCE
                                               )
12                                             )     STIPULATION & ORDER
                          Plaintiffs,          )     FOR CONTINUENCE OF
13                                             )     DEFENDANT’S SURRENDER
     v.                                        )     DATE
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                                               )
15   CHRISTOPH HEINEN, LAURA                   )
     HEINEN AND THOMAS DAILY,                  )
16                                             )
                          Defendant.           )
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                                        ORDER AND STIPULATION
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 1

 2                                                  STIPULATION

 3           IT IS HEREBY STIPULATED between the United States of America, through its

 4   attorney of record, Michael M. Beckwith, Assistant U.S. Attorney; and, Defendant, Thomas

 5   Daily, through his attorney, Editte Lerman, to continue defendant’s surrender date, due to family

 6   matters:

 7           That the July 19, 2012, surrender date shall be vacated, and that Defendant, Thomas

 8   Daily, shall surrender himself into custody of the United States on August 2, 2012.

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10   Respectfully submitted,

11   Dated: July 11, 2012

12
     -------------------/S/-------------------
13   Editte Lerman
     Attorney for Defendant
14
     Thomas Daily
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16   Dated: July 17, 2012
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18   -------------------/S/-------------------
     Laurel. J. Montoya
19   Assistant United States Attorney

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 1                                                ORDER

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 3              Satisfactory proof having been made and good cause appearing,

 4              IT IS ORDERED THAT:

 5              The surrender date of defendant, Thomas Daily, is continued from July 19, 2012, to

 6   August 2, 2012 at 2:00 p.m.

 7              The parties are cautioned that no further extensions of the surrender date will be

 8   accepted by the court, stipulated or otherwise.

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     Dated: July 17, 2012
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                                               __________________________________
11
                                               MORRISON C. ENGLAND, JR
12                                             UNITED STATES DISTRICT JUDGE

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                                         ORDER AND STIPULATION
